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               IN THE UNITED STATES DISTRICT COURT FOR
                   THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

UNITED STATES OF AMERICA                )
                                        )
v.                                      )             CR NO. 2:17-CR-100-MHT
                                            )                    WO
DUANTE RAHEEM TALLEY                    )

                          ORDER ON ARRAIGNMENT

      On May 9, 2017, the defendant, Duante Raheem Talley, appeared in
person and in open court with counsel, Garrett Saucer, and was arraigned in
accordance with the provisions of Rule 10 of the Federal Rules of Criminal
Procedure.

       PLEA. The defendant entered a plea of NOT GUILTY. Counsel for the
defendant is requested to contact the U.S. Attorney immediately if the defendant
intends to engage in plea negotiations. If the defendant decides to change this
plea, the parties shall file a notice of intent to plead guilty or otherwise notify the
clerk’s office at or before the pretrial conference and then this action will be set on
a plea docket.

      PRELIMINARY SENTENCING GUIDELINES INFORMATION.
The court no longer requires the United States Probation Office to provide
preliminary sentencing guideline information to defendants. However, in difficult
or complex cases defendants may request the United States Probation Office to
provide Sentencing Guideline calculation assistance with the understanding that
any estimate is tentative only and is not binding on the United States Probation
Office, the parties or the court. The court expects that requests for Sentencing
Guideline calculation assistance shall be the exception and that defendants will not
make such requests a matter of routine. A request for Sentencing Guideline
calculation assistance shall be made to the United States Probation Office not later
than 10 days from the date of this order.

     PRETRIAL CONFERENCE. An initial pretrial conference is hereby set
for May 31, 2017 at 1:00 p.m., before U.S. Magistrate Judge Charles S. Coody,
in Courtroom 4-B, United States Courthouse Complex, One Church Street,
Montgomery, Alabama. Not later than three (3) days prior to the date of the
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pretrial conference, counsel shall confer about the issues and matters to be
discussed at the pretrial conference as set forth in this order. Counsel who
want in-custody defendants to attend must notify the Magistrate Judge within three
days of the conference date so that an order to produce can be issued to the United
States Marshal.

       At the pretrial conference defense counsel and counsel for the government
shall be fully prepared to discuss all pending motions, the status of discovery,
possible stipulations, and the estimated length of the trial. The defense counsel
and counsel for the government shall be fully prepared to provide a definite
commitment as to the final disposition of this case - by trial, plea or other non-trial
disposition. If resolution of a dispositive motion will affect the nature of this
commitment, counsel must be fully prepared to discuss this type of resolution. If
the case is for plea, the notice of intent to enter a plea should be filed at the time of
the pretrial conference. If counsel require additional time for plea negotiations,
counsel should be prepared to inform the court about the date when those
negotiations will be completed.

       TRIAL. At arraignment, the parties agreed that due to the nature of this
case, the need for adequate time for discovery and the need for counsel to have
adequate time for trial preparation, the case should be set for trial before Senior
United States District Judge Myron H. Thompson, on the trial term beginning
on August 7, 2017, at the Federal Courthouse in Montgomery, Alabama, unless
otherwise ordered by the court.

         In setting this case for trial on the term indicated above, the court
recognizes that the Speedy Trial Act places limits on the court’s discretion, and
that under the act, the trial of a defendant must commence within 70 days of the
date of the indictment or the date of the defendant’s first appearance before a
judicial officer, whichever is later. 18 U.S.C. § 3161(c)(1). In determining
whether a case should be set after the expiration of the 70 day period, a court must
consider among other factors “[w]hether the failure to [set the case at a later date] .
. . would be likely to . . . result in a miscarriage of justice.” 18 U.S.C. §
3161(h)(8)(B)(I). The court also must consider “whether the failure to grant such
a continuance . . . would deny counsel for the defendant or the attorney for the
government the reasonable time necessary for effective preparation, taking into
account the exercise of due diligence.” 18 U.S.C. § 3161(h)(8)(B)(iv). Based
on the nature of this case, the parties’ need for adequate time for discovery and the
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need for counsel to have adequate time for trial preparation, the court finds that the
ends of justice served by setting this case on this trial term outweigh the best
interest of the public and the defendant in a speedy trial. Any requested voir dire
questions and jury instructions must be filed no later than one week before jury
selection.

       PRETRIAL MOTIONS. All pretrial motions under Fed.R.Crim.P. 12(b)
and (d), 14 and 16, all notices under Fed.R.Crim.P. 12.1, 12.2 and 12.3, and any
motion to compel pursuant to M.D. Ala. LCrR 16.1 Criminal Discovery must be
filed no later than TWO DAYS BEFORE THE FIRST PRETRIAL
CONFERENCE HELD IN THIS CASE. No motion filed after this date will be
considered unless filed with leave of court. Unless otherwise ordered by the
court, the continuance of the trial of a case will not extend the time for filing
pretrial motions. THE CONFERENCING REQUIREMENT SET FORTH IN
M.D. Ala. LCrR 16.1(c) CRIMINAL DISCOVERY SHALL BE MET
BEFORE THE COURT WILL CONSIDER ANY DISCOVERY MOTION.
THE COURT WILL NOT GRANT MOTIONS TO ADOPT MOTIONS
FILED BY OTHER DEFENDANTS.

      Motions to suppress must allege specific facts which, if proven, would
provide a basis of relief. This court will summarily dismiss suppression motions
which are supported only by general or conclusory assertions founded on mere
suspicion or conjecture. All grounds upon which the defendant relies must be
specifically stated in the motion in separately numbered paragraphs in a
section of the motion which is labeled "Issues Presented.". Grounds not
stated in the "Issues Presented" section of the motion will be deemed to have
been waived. See generally United States v. Richardson, 764 F.2d 1514,1526-27
(11th Cir. 1985).

      Unless otherwise ordered, the government shall file a response to all
motions filed by the defendant on or before seven days prior to the date set for a
hearing on the motion or, if no hearing is necessary, on or before fourteen (14)
days after the date of the pretrial conference.

       DISCOVERY. All discovery in this action shall be conducted according to
the requirements of M.D. Ala. LCrR 16.1 Criminal Discovery. A copy of this
Rule may be found at http://www.almd.uscourts.gov/forms/almd-local-rules.
Unless the government provided initial disclosures to defendant prior to or at
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arraignment, the government is ORDERED to tender initial disclosures to the
defendant on or before May 9, 2017. Disclosures by the defendant, as required by
M.D. Ala. LCrR 16.1(a)(4) shall be provided on or before May 16, 2017,

      JENCKS ACT STATEMENTS. The government agrees to provide
defense counsel with all Jencks Act statements no later than the day scheduled for
the commencement of the trial.1

       MANDATORY APPEARANCE OF COUNSEL. Counsel of record for
all parties are ORDERED to appear at all future court proceedings in this criminal
case. Those attorneys who find it impossible to be in attendance (especially at the
pretrial conference, jury selection, or trial) must make arrangements to have
substitute counsel appear on behalf of their clients. Any attorney who appears as
substitute counsel for a defendant shall have full authorization from the defendant
to act on his or her behalf and be fully prepared to proceed. Substitute counsel
shall not be counsel for a co-defendant unless permitted by the court after proper
motion. Any counsel who wishes to have substitute counsel appear must obtain
permission of the court in advance.

       NOTE: Except in extraordinary circumstances or circumstances in
which the Constitution would require it, the court will not entertain motions
to withdraw filed by counsel who appear at arraignment unless the motions
are filed within seven days of the date of this order. Failure to obtain fees
from a client is not an extraordinary circumstance.

         Done this 10th day of May, 2017.


                                     /s/Charles S. Coody
                                 CHARLES S. COODY
                                 UNITED STATES MAGISTRATE JUDGE




1
    In certain complex cases, the government may agree to earlier production.
